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                                                                                        FILED
                                                                             UNITED STATES DISTRICT COURT
                                                                                  DENVER, COLORADO
                                                                                      9/30/2021
                        IN THE UNITED STATES DISTRICT COURT                    JEFFREY P. COLWELL, CLERK
                            FOR THE DISTRICT OF COLORADO

                          21           191-DDD
  Civil Action No. _______________-mc-____


  EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

         Applicant-Plaintiff,

  v.

  FRONTIER AIRLINES, INC.,

         Respondent.


                APPLICATION FOR AN ORDER TO SHOW CAUSE WHY
              ADMINISTRATIVE SUBPOENAS SHOULD NOT BE ENFORCED




         1.     This is an action for enforcement of three administrative subpoenas issued

  pursuant to Section 710 of Title VII of the Civil Rights Act of 1964 (“Title VII”), as

  amended, 42 U.S.C. § 2000e-8(a) & 2000e-9 (incorporating investigatory powers from

  29 U.S.C. § 161) and Section 107(a) of the Americans with Disabilities Act of 1990

  (“ADA”), as amended, 42 U.S.C. § 12117(a) (which incorporates Section 710 of Title

  VII, 42 U.S.C. § 2000e-9).

         2.     Jurisdiction is conferred on this Court by Section 107(a) of the ADA,

  42 U.S.C. § 12117(a) (which incorporates Sections 706(f)(3) and 710 of Title VII,

  42 U.S.C. §§ 2000e-5(f)(3) and 2000e-9, the latter of which incorporates Section 11 of

  the National Labor Relations Act of 1935 (“NLRA”), 29 U.S.C. § 161).
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        3.      Applicant-Plaintiff Equal Employment Opportunity Commission (EEOC) is

  the federal agency charged with the administration, interpretation, and enforcement of

  federal laws prohibiting employment discrimination, including Title VII and the ADA, and

  including the EEOC’s authority and mandate to investigate of charges of unlawful

  employment practices.

        4.      The EEOC is authorized to bring this action pursuant to Section 107(a) of

  the ADA, 42 U.S.C. § 12117(a) (which incorporates Section 710 of Title VII, 42 U.S.C.

  § 2000e-9).

        5.      Respondent Frontier Airlines, Inc. (“Frontier”) is an employer doing

  business in the State of Colorado.

        6.      On August 2, 2018, pursuant to its authority under Section 107(a) of the

  ADA, 42 U.S.C. § 12117(a) (incorporating Section 710 of Title VII, 42 U.S.C. § 2000e-9,

  which, in turn, incorporates Section 11 of the NLRA, 29 U.S.C. § 161), EEOC issued

  Subpoena Nos. DE-018-020 and DE-018-021 to Frontier. On August 31, 2018, pursuant

  to the same authority, EEOC issued Subpoena No. DE-018-022 to Frontier.              The

  Subpoenas were duly served on Frontier.

        6.      The Subpoenas required Frontier employees Charles A. Rex and Gerardo

  “Jerry” Arellano to testify under oath and have their testimony recorded, and required

  Frontier to produce information needed as part of EEOC’s investigation of ten charges

  of unlawful and discriminatory employment practices, Charge Nos.: 541-2016-01704;

  541-2016-01707; 541-2016-01709; 541-2017-01427; 541-2017-01430; 541-2017-




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  01708; 541-2018-00055; 541-2018-00056; 541-2018-02436; and 541-2018-02426,

  which have been filed against Frontier.

         7.     On August 13, 2018, Frontier filed with the EEOC Petitions to Revoke or

  Modify the EEOC’s Administrative Subpoena Nos. DE-018-020 and DE-018-021.

         8.     On September 10, 2018, Frontier filed with the EEOC a Petition to Revoke

  or Modify the EEOC’s Administrative Subpoena No. DE-018-022.

         9.     On February 19, 2020, the EEOC issued a Determination and denied

  Frontier’s Petitions to Revoke or Modify Subpoena Nos. DE-018-020, DE-018-021, and

  DE-018-022.     This Determination directed Frontier to provide specific information

  requested in subpoena No. DE-018-22 within twenty-one (21) days of the Determination

  and to schedule the interviews with Mr. Rex and Mr. Arellano, to be conducted under oath

  and audio recorded.

         10.    Frontier has failed and/or refused to comply with the Subpoenas.

         11.    Frontier’s failure and/or refusal to comply with the Subpoenas has delayed

  and hampered EEOC’s investigations.

         12.    The accompanying Declaration of Amy Burkholder, Denver Field Office

  Director, filed in support of this Application, and the attachments thereto, provide the

  factual support for this Application. The Declaration and the attachments are

  incorporated by reference into this Application.




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        WHEREFORE, the Equal Employment Opportunity Commission prays:

        a.    That the Court issue an Order directing Frontier to appear before this Court

        and to show cause, if there be any, why an Order should not issue directing

        Frontier to comply with the Subpoenas;

        b.    That, upon return of the Order to Show Cause, the Court issue an Order

        directing Frontier to comply with the Subpoenas as set forth in the Commission’s

        February 19, 2020 Subpoena Determination; and

        c.    That the Equal Employment Opportunity Commission be granted its costs

        and such further relief as may be appropriate.

  DATED: September 30, 2021

                                                 Respectfully submitted,

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  PLEASE NOTE: For purposes of service on EEOC, it is sufficient that pleadings,
  notices, and Court documents be served upon the Trial Attorneys.




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